Filing # 1S84468FS EFL SPOS IUBY oP IBOP BM Filed O7/20l21 Page 1 of 7 PagelD 64

IN THE COUNTY COURT OF THE TWENTIETH JUDICIAL CIRCUIT
IN AND FOR CHARLOTTE COUNTY, FLORIDA

DARNEL J. ANTOINE,

Plaintiff,
Case No. 21000548CC
Vv.
JURY TRIAL DEMANDED
RADIUS GLOBAL SOLUTIONS LLC,
INJUNCTIVE RELIEF SOUGHT
Defendant.
/

 

COMPLAINT
Plaintiff Darnel J. Antoine (‘Plaintiff’) sues Defendant Radius Global Solutions LLC
(“Defendant”) for violations the Florida Consumer Collection Practices Act (“FCCPA”) and the
Fair Debt Collection Practices Act (“FDCPA”)
JURISDICTION AND VENUE

1. This Court has subject matter jurisdiction over Plaintiff and Defendant
(collectively, the “Parties”), because the cause of action arises within the jurisdiction of this Court
and, thus, venue and jurisdiction are proper.

2. This Court has personal jurisdiction over Defendant because Defendant is
operating, present, and/or doing business within this jurisdiction and because the complained of
conduct of Defendant occurred within Charlotte County, Florida.

3. The amount in controversy is greater than $8,000, but does not exceed $15,000,
exclusive of costs, interest, and attorneys’ fees, and is otherwise within this Court’s jurisdiction.

4, Venue of this action is proper in this Court because, pursuant to Fla. Stat. § 47.011,

et seq., the cause of action alleged below arose in Charlotte County Florida.

 

PAGE | 1 of 7

LAW OFFICES OF JIBRAEL S. HINDI, PLLC
110 SE 6th Street, 17th Floor | Ft. Lauderdale, Florida 33301 | Phone (954) 907-1136 | Fax (855) 529-9540
Case 2:21-cv-00547-SPC-NPM Document 3 Filed 07/20/21 Page 2 of 7 PagelD 65

 

 

PARTIES

5. Plaintiff is a natural person, and a citizen of the State of Florida, residing in
Charlotte County, Florida.

6. Defendant is a Minnesota Limited Liability Company, with its principal place of
business located in Edina MN 55439.

DEMAND FOR JURY TRIAL
7. Plaintiff, respectfully, demands a trial by jury on all counts and issues so triable.
FACTUAL ALLEGATIONS
8. On a date better known by Defendant, Defendant began attempting to collect a debt

(the “Consumer Debt’) from Plaintiff.
a The Consumer Debt is an obligation allegedly had by Plaintiff to pay money arising
from a transaction between the creditor of the Consumer Debt, Capital One Bank (USA), N.A.,

and Plaintiff involving an unsecured line of credit for the personal use of Plaintiff. (the “Subject

Service”).
10. The Subject Service was primarily for personal, family, or household purposes.
11. Defendant is a business entity engaged in the business of soliciting consumer debts

for collection.

12. Defendant is a business entity engaged in the business of collecting consumer debts.

13. Defendant regularly collects or attempts to collect, directly or indirectly, debts
owed or due or asserted to be owed or due another.

14. Defendant is registered with the Florida Office of Financial Regulation as a
“Consumer Collection Agency.”

15.  Defendant’s “Consumer Collection Agency” license number is CCA0900498.

 

PAGE | 2 of 7

LAW OFFICES OF JIBRAEL S. HINDI, PLLC
110 SE 6th Street, 17th Floor | Ft. Lauderdale, Florida 33301 | Phone (954) 907-1136 | Fax (855) 529-9540
Case 2:21-cv-00547-SPC-NPM Document 3 Filed 07/20/21 Page 3 of 7 PagelD 66

16. Defendant maintains all the records specified in Rule 69V-180.080, Florida
Administrative Code.

17. The records specified by Rule 69V-180.080, Florida Administrative Code, of which
Defendant does maintain, are current to within one week of the current date.

18. Defendant is a “debt collector” within the meaning of 15 U.S.C. § 1692a(6).

19. Defendant is a “person” within the meaning of Fla. Stat. § 559.72.

20. On a date better known by Defendant, Defendant transmitted Plaintiffs personal
information to a third-party (the “Third-Party”).

one The personal information Defendant transmitted to the Third-Party included, but
was not limited to: [1] Plaintiff's name; [2] Plaintiff's address; [3] the existence of the Consumer
Debt; [4] the amount of the consumer debt; [5] the creditor of the Consumer Debt; [6] that Plaintiff
was the alleged debtor of the Consumer Debt; [7] information regarding the Subject Service; and
[8] that Plaintiff did not pay the Consumer Debt and/or defaulted on the Consumer Debt
(collectively, the “Transmitted Information”).

2d The Third-Party, of whom Defendant transmitted Plaintiffs personal information
to, complied Plaintiff's personal information and prepared a letter that was to be sent to Plaintiff
in an attempt to collect the Consumer Debt.

23. The Transmitted Information affected Plaintiff's reputation. For example, the
transmission of such information affected Plaintiff's reputation regarding the repayment of debts,
Plaintiffs reputation of truthfulness, Plaintiffs reputation of solvency, and Plaintiff's reputation
regarding trustworthiness.

24. Defendant’s transmission of Plaintiff's personal information to the Third-Party was

a communication in connection with the collect of the Consumer Debt.

 

PAGE | 3 of 7

LAW OFFICES OF JIBRAEL S. HINDI, PLLC
110 SE 6th Street, 17th Floor | Ft. Lauderdale, Florida 33301 | Phone (954) 907-1136 | Fax (855) 529-9540
Case 2:21-cv-00547-SPC-NPM Document 3 Filed 07/20/21 Page 4 of 7 PagelD 67

25. In addition to transmitting Plaintiff's personal information to the Third-Party,
Defendant also transmitted Plaintiff's personal information to other third-party entities in
connection with the collection of the Consumer Debt. Defendant transmitted such information to
these other third-party entities by, including but not limited to: [1] utilizing “skip trace” services;
{2] utilizing bankruptcy, SCRA, probate, and other “scrubbing” services; and [3] utilizing
independent third-party contractors to attempt to collect the Consumer debt from Plaintiff.

26. On a date better known by Defendant, Defendant sent the letter prepared and/or
complied by the Third-Party to Plaintiff, of which was internally dated February 7, 2021, (the
“Collection Letter”) in an attempt to collect the Consumer Debt.

27. Attached as Exhibit “A” is a copy of Collection Letter.

28. | Defendant’s transmission of Plaintiff’s personal information to the Third-Party is

an explicit violation of § 1692c(b) of the FDCPA. See Hunstein v. Preferred Collection & Mgmt.

 

Servs., No. 19-14434, 2021 U.S. App. LEXIS 11648 (11th Cir. Apr. 21, 2021) (a complete copy
of the Hunstein opinion is attached as Exhibit “B”).

29. The Collection Letter contains a bar code and/or Quick Response (“QR”) code, of
which are indicative of Defendant’s use of the Third-Party to prepare, print, package, compile,
and/or otherwise send the Collection Letter.

30. For Defendant-DC to maintain a valid consumer collection agency license with the
Florida Department of State (so to otherwise lawfully collect, or attempt to collect, consumer debts
from Florida consumers) Defendant knew it was required to tailor its (Defendant-DC’s) debt
collector methods to be in compliance with both the FDCPA and FCCPA.

31. Defendant knew that the Transmitted Information constituted an unlawful

transmission of Plaintiffs personal information in violation of § 1692c(b) of the FDCPA.

 

PAGE | 4 of 7

LAW OFFICES OF JIBRAEL S. HINDI, PLLC
110 SE 6th Street, 17th Floor | Ft. Lauderdale, Florida 33301 | Phone (954) 907-1136 | Fax (855) 529-9540
Case 2:21-cv-00547-SPC-NPM Document 3 Filed 07/20/21 Page 5 of 7 PagelD 68

32s The Third-Party did not have any legitimate need for the Transmitted Information,
as the Transmitted Information constituted an unlawful transmission of Plaintiff's personal

information in violation of § 1692c(b) of the FDCPA.

COUNT 1

VIOLATION OF 15 U.S.C. § 1692c(b)

33. Plaintiff incorporates by reference paragraphs 1-32 of this Complaint.

34. Pursuant to § 1692c(b) of the FDCPA, “a debt collector may not communicate, in
connection with the collection of any debt, with any person other than the consumer, his attorney,
a consumer reporting agency if otherwise permitted by law, the creditor, the attorney of the
creditor, or the attorney of the debt collector.” 15 U.S.C. 1692c(b) (emphasis added).

35. Asset forth above, Defendant’s transmission of Plaintiffs personal information to
the Third-Party violates § 1692c(b) of the FDCPA. See Hunstein, No. 19-14434, 2021 ULS. App.
LEXIS 11648 (“[w]e hold (1) that a violation of § 1692c(b) gives rise to a concrete injury in fact
under Article II] and (2) that the debt collector's transmittal of the consumer's personal information
to its dunning vendor constituted a communication ‘in connection with the collection of any debt’
within the meaning of § 1692c(b).”) Accordingly, Defendant violated § 1692c(b) of the FDCPA
when it transmitted Plaintiff’s personal information to the Third-Party.

36. WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment
against Defendant, awarding Plaintiff the following relief:

(a) Statutory and actual damages as provided by 15 U.S.C. § 1692k;
(b) Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1692k; and

(c) Any other relief that this Court deems appropriate under the circumstances.

 

PAGE | 5 of 7

LAW OFFICES OF JIBRAEL S. HINDI, PLLC
110 SE 6th Street, 17th Floor | Ft. Lauderdale, Florida 33301 | Phone (954) 907-1136 | Fax (855) 529-9540
Case 2:21-cv-00547-SPC-NPM Document 3 Filed 07/20/21 Page 6 of 7 PagelD 69

COUNT 2
VIOLATION OF FLA. STAT. § 559.72(5)

37. Plaintiff incorporates by reference paragraphs 1-32 of this Complaint.

38. Pursuant to § 559.72(5) of the FCCPA, in collecting consumer debts, no person
shall: “/d/isclose to a person other than the debtor or her or his family information affecting the
debtor’s reputation, whether or not for credit worthiness, with knowledge or reason to know that
the other person does not have a legitimate business need for the information or that the
information is false.” Fla Stat. § 559.72(S) (emphasis added).

39. As set forth above, Defendant unlawfully transmitted Plaintiff's personal
information, by and through the Transmitted Information, to the Third-Party, whereby said
transmitted information affective Plaintiff's reputation because the Third-Party did not have any
legitimate need for unlawfully transmitted personal information of Plaintiff.

40. WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment
against Defendant, awarding Plaintiff the following relief:

(a) Statutory and actual damages pursuant to Fla. Stat. §559.77(2);

(b) An injunction prohibiting Defendant from engaging in further collection
activities directed at Plaintiff that are in violation of the FCCPA;

(c) Costs and reasonable attorneys’ fees pursuant to Fla. Stat. §559.77(2); and
(d) Any other relief that this Court deems appropriate under the circumstances.

[REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]

 

PAGE | 6 of 7

LAW OFFICES OF JIBRAEL S. HINDI, PLLC
110 SE 6th Street, 17th Floor | Ft. Lauderdale, Florida 33301 | Phone (954) 907-1136 | Fax (855) 529-9540
Case 2:21-cv-00547-SPC-NPM Document 3 Filed 07/20/21 Page 7 of 7 PagelD 70

DATED: June 9, 2021

Respectfully Submitted,

/s/ Jibrael S. Hindi
JIBRAEL S. HINDI, ESQ.
Florida Bar No.: 118259
E-mail: jibrael@jibraellaw.com
THOMAS J. PATTI, ESQ.
Florida Bar No.: 118377
E-mail: tom@jibraellaw.com
THE LAW OFFICES OF JIBRAEL S. HINDI
110 SE 6th Street, Suite 1744
Fort Lauderdale, Florida 33301
Phone: 954-907-1136
Fax: 855-529-9540

 

 

 

PAGE | 7 of 7

LAW OFFICES OF JIBRAEL S. HINDI, PLLC
110 SE 6th Street, 17th Floor | Ft. Lauderdale, Florida 33301 | Phone (954) 907-1136 | Fax (855) 529-9540
